       Case 1:23-cv-00853-DAE Document 167 Filed 07/17/24 Page 1 of 3




                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                             AUSTIN DIVISION

UNITED STATES OF AMERICA.,                §
Plaintiff                                 §
                                          §
v.                                        §      No. 1:23-CV-00853-DAE
                                          §
GREG ABBOTT, IN HIS                       §
CAPACITY AS GOVERNOR OF                   §
THE STATE OF TEXAS; AND                   §
THE STATE OF TEXAS,                       §
Defendants                                §


                                      ORDER

      The Court held a status conference in this case two weeks ago. Dkt. 145. During

that conference, the Court and the parties discussed the then-pending motions as well

as the remaining motions the parties contemplated filing. Id. Given the limited

amount of time remaining before the parties’ final pretrial conference and trial, set

for the beginning of next month, and to ensure the Court had sufficient time to

consider the parties’ filings and rule on them in advance of that date, the Court

informed the parties that it would hear any remaining motions in a hearing set for

July 25, 2024, and that the briefing for any such motion needed to be completed by

July 19, 2024. Id. at 2. At that time, the State contemplated filing at least two

additional Daubert motions and additional discovery-related motions; the U.S.

expected to potentially file a Daubert of its own. Id. The Court closed the hearing by

ordering the parties to confer on a reasonable briefing schedule for these remaining

motions. Id.



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           Case 1:23-cv-00853-DAE Document 167 Filed 07/17/24 Page 2 of 3




       Thirteen days passed before either party addressed this now-urgent scheduling

question in a filing with the Court. In its opposed motion, the U.S. proposes a schedule

for the motions the parties discussed at the July 2 scheduling conference. Dkt. 158.

According to the U.S., the State’s main complaint about the proposed schedule is that

it sets a final deadline for the State to file additional motions beyond those discussed

at the status conference. Id. at 2. As represented during the conference, the State has

filed two additional Daubert motions. Dkts. 159, 160.

       Given the urgent need to set a scheduling order, the need to resolve these

remaining motions prior to the parties’ final pretrial conference, and in exercise of

the Court’s “broad discretion and inherent authority to manage its docket,” 1 the Court

will adopt the schedule below, adopting elements from both sides’ proposals.

       Accordingly, the Court ORDERS the following:

       1. Each party may file no more than two additional Daubert and/or discovery

            motions. The Court declines the U.S.’s proposal to allow filing omnibus

            motions attempting to shoehorn a greater number of motions that what is

            contemplated here into a single filing.

       2. The parties may not extend the Joint Advisory deadline.

       3. Any motion must be filed by end of day Wednesday, July 17. Responses will

            be due by end of day Thursday, July 18. Replies will be due by end of day

            Friday, July 19. The parties’ joint advisory on all motions, limited to 2 pages

            per side, will be due at noon on Monday, July 22.


1 In re Deepwater Horizon (Perez), 713 F. App’x 360, 362 (5th Cir. 2018) (unpublished) (per

curiam).
                                             2
       Case 1:23-cv-00853-DAE Document 167 Filed 07/17/24 Page 3 of 3




      Judge Ezra will retain the discretion to entertain motions filed after the

deadlines set above. But the parties are on notice that any late-filed motions may not

be considered by the Court. As the scheduling order makes clear, the final pretrial

conference is intended to address the “proposed final pre-trial order, exhibits and

witness lists, deposition designations, motions in limine, motions to exclude

witnesses, and any proposed fact stipulations.” Dkt. 97, at 2.

      SIGNED July 17, 2024.



                                       DUSTIN M. HOWELL
                                       UNITED STATES MAGISTRATE JUDGE




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